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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS
EARPLUG PRODUCTS LIABILITY
LITIGATION,                                 Case No. 3:19-md-2885

                                            Judge M. Casey Rodgers
                                            Magistrate Judge Gary R. Jones
This Document Relates to All Cases
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                                   ORDER

      On August 4, 2020, the Court conducted a telephone hearing at the

request of the parties to address a discovery dispute over the production of

custodial files by Defendants. The Court construes this dispute as

Plaintiffs’ motion to compel the production of discovery.

      By way of background, since this litigation began last year

Defendants have reviewed more than 2.7 million documents and produced

more than 340,000 documents for the more than 55 custodians added to

the TAR process, as well as from non-custodial sources. The designation

of custodial files has been a frequent subject of litigation. See, e.g., ECF

Nos. 777, 854, 1172. Plaintiffs now request an order compelling

Defendants to designate five additional custodians: (1) Javier Rodriguez;

(2) Olga Mendoza; (3) Juan Rodriguez; (4) Gordon Grogan; and (5) Larry

Power. Defendants resist designating additional custodians on the bases
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that Plaintiffs requests are untimely 1 and, alternatively, that production of

these custodial files will not yield relevant discovery.

      Plaintiffs, as the requesting party, must demonstrate each custodian

would provide “unique relevant information not already obtained.” 2 The

Court weighs this showing against the obvious burden on Defendants to

collect, review, and produce a new custodial file to the TAR corpus, which

Defendants have described as an onerous process taking several weeks to

complete. 3

      For the reasons discussed on the record, which are fully incorporated

herein, and as summarized below, Plaintiffs’ motion is due to be

GRANTED IN PART and DENIED IN PART. This order is a non-


1 The Court summarily rejects Defendants’ timeliness argument as to this motion.
Although Plaintiffs filed their motion nine days after the July 20, 2020, deadline, it is
apparent Plaintiffs were seeking resolution without court intervention during this time in
an ongoing meet and confer with Defendants. This delay does not warrant avoiding a
ruling on the merits, particularly in view of the expeditious resolution of this dispute.
2 Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., 297 F.R.D. 99, 107 (S.D.N.Y.
2013); see also Garcia Ramirez v. U.S. Immigration and Customs Enforcement, 331
F.R.D. 194, 198 (D.D.C. 2019) (applying the “unique relevant information” standard for
designating additional custodians); In re EpiPen (Epinephrine Injection, USP) Mktg.,
Sales Practice and Antitrust Litig., No. 17-md-2785-DDC-TJJ, 2018 WL 1440923, at *2
(D. Kan. Mar. 15, 2018) (describing the “general principles” pertinent to a party’s request
to compel designation of disputed individuals as ESI custodians).
3 See Willcox v. Lloyds TSB Bank, PLC, No. 13-508-ACK-RLP, 2015 WL 13811490, at
*6 (D. Haw. June 15, 2015) (“the benefit of the information and documents” from a
custodian must be weighed against “the burden on [the responding party] for collecting,
reviewing, and producing the documents”).


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exhaustive recitation of the arguments made by the parties as well as the

Court’s reasoning.

                                 I. DISCUSSION

      A.     Aearo Technologies de Mexico

      Plaintiffs request first that the Court designate three employees of

Defendants’ subsidiary in Mexico (Aearo Technologies de Mexico or

“ATM”)—Javier Rodriguez, Olga Mendoza, and Juan Rodriguez—as

custodians and, accordingly, direct their custodial files be produced. Javier

Rodriguez was the founder and General Manager of TJR Manufacturing

and Services, which eventually became ATM through, first, a joint venture

and then acquisition by 3M. Javier Rodriguez reported to Robert Zielinski,

Defendants’ Outside Manufacturing Manager in Indianapolis, and available

metadata appears to show that Rodriguez was the author of protocol

documents for the assembly and testing of the CAEv2 at ATM. Moreover,

Plaintiffs assert he was aware of quality concerns pertaining to the CAEv2.

      Defendants argue that the production of Javier Rodriguez’s custodial

file, if it still exists, is unlikely to result in the discovery of unique relevant

information because Plaintiffs have not demonstrated Rodriguez had any

direct involvement in the assembly or testing of the CAEv2. Defendants

aver that Plaintiffs misunderstand the documents and data available to


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them because, in all likelihood, Rodriguez created templates and

spreadsheets for assembly and testing at ATM that were then modified for

the CAEv2 after his departure. Defendants also point to the fact that

communications by Mr. Zielinski between or pertaining to Defendants and

ATM are copied to other ATM custodians (Roberto Ramirez and Selina

Ramirez), but not Javier Rodriguez.

      As the Court previously stated, the production of custodial files from

ATM is appropriate and necessary in view of Plaintiffs’ design defect claims

and, as represented by Plaintiffs at the hearing, their negligence and

failure-to-warn claims. ECF No. 1172 at 6–7. Although the Court

previously designated a custodian for ATM (Selina Ramirez), id. at 7, and

Defendants have agreed to one more (Roberto Ramirez), the production of

discovery pertaining to ATM has been relatively slight. Indeed, the Court

learned ATM did not retain a custodial file for Ms. Ramirez, and thus one is

not available for production here. The Court appreciates the burden on

Defendants to produce custodial files, particularly at this juncture, but

Plaintiffs’ showing as to the unique relevant information available from

ATM, specifically Javier Rodriguez as General Manager, outweighs this

burden.




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      The same is not true for ATM employees Olga Mendoza and Juan

Rodriguez. Ms. Mendoza was a Quality Superintendent who reported to

Javier Rodriguez. Plaintiffs say that she inspected components of the

CAEv2 during assembly and, on one occasion, identified potential defects.

Juan Rodriguez was the ISO-9000 Quality Engineer. ISO-9000 refers to a

voluntary industry standard for quality and design adopted by Defendants.

Plaintiffs do not point to any available evidence that Juan Rodriguez

supervised, or even had a role in, the assembly of the CAEv2 at ATM.

      The Court is not persuaded that producing the custodial files for Ms.

Mendoza and Juan Rodriguez will yield relevant discovery. Their roles

appear far afield from quality control issues pertaining to the CAEv2, and

there is no direct evidence that they had any meaningful involvement with

the product during their work at ATM.

      B.    Gordon Grogan

      Plaintiffs next request is for the custodial file of Mr. Grogan, a Quality

Analyst at 3M between 1999 and 2014 who reported to Quality Assurance

Manager Steve Todor. Plaintiffs say that Mr. Grogan was responsible for

addressing “problems” with the CAEv2 in Mexico and was “directly

involved” in calibration issues as well as the approval of Quality Waivers for

deliveries of the CAEv2 from ATM that tested “out of specification.”


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Defendants argue that Mr. Grogan’s custodial file would be duplicative of

other custodians, particularly Mr. Todor.

      The Court concludes that Mr. Grogan’s custodial file should be

produced. Plaintiffs have demonstrated that his file will likely contain

relevant information regarding quality assurance of the CAEv2.

Additionally, there is a strong probability this information will be unique

because the production of documents from Mr. Todor’s custodial file,

through the TAR process, was sparse.

      C.    Larry Power

      Finally, Plaintiffs request the custodial file for Mr. Power, the

Manufacturing Operations and Global Outsource Manufacturing Manager

at 3M between 2004 and 2011. Plaintiffs assert that Mr. Power, who

supervised Mr. Zielinski, was involved in the evaluation of quality issues

arising from assembly of the CAEv2 in ATM and was part of a small group

of employees who received an action plan memorandum on these issues.

Plaintiffs also claim that Mr. Power was involved in management-level

discussions regarding demands for the sale and delivery of the CAEv2 to

the United States Military when the latter deployed to Afghanistan and Iraq.

Defendants argue that Mr. Power’s custodial file would be duplicative

because Defendants have already added to the TAR process more than


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24,000 emails and attachments sent from or to Mr. Power, all of which were

collected from existing custodians.

      The Court is persuaded that Mr. Power’s custodial file will yield

unique relevant information and that the burden of production on

Defendants, at this juncture, is not unduly high. Mr. Power was only a

limited number of people directly involved in quality issues for the CAEv2

and he held a significant managerial role with Defendants. This

designation is not duplicative of other custodians, particularly Mr. Zielinski,

because the production of documents from Mr. Zielinski’s custodial file was

also thin.

                                 II. CONCLUSION

      Accordingly, it is ORDERED:

      Plaintiffs’ motion to compel the production of custodial files is due to
      be GRANTED IN PART and DENIED IN PART. Defendants must
      collect, review, and produce responsive documents in the custodial
      files for Javier Rodriguez, Gordon Grogan, and Larry Power. 4

      DONE AND ORDERED this 5th day of August 2020.

                                               s/Gary R. Jones
                                               GARY R. JONES
                                               United States Magistrate Judge


4 The parties are encouraged to work diligently, in accordance with the September 1,
2020, deadline for corporate discovery. Defendants must keep Plaintiffs apprised of
their investigation, including whether they have any custodial files from ATM.

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